            Case 3:20-cr-10067-AJB Document 13 Filed 04/20/20 PageID.37 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations                                          FILED
                                    UNITED STATES DISTRICT COUJ ~T                                             APR 2 0 2020
                                          SOUTHERN DISTRICT OF CALIFORNIA                                CLERK  us oisrnicr~o·
                                                                                                                           ·,
                                                                                                      SOUTHERN DISTRICT OF C
             UNITED STATES OF AMERICA                                 JUDGMENT IN A C! IM"INAL CASE                              UTY
                                                                      (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses Committed On or After November I, 1987)
                               V.
             ROGELIO MIRANDA-RIV AS (1)
                                                                            Case Number:     3:20-CR-10067-AJB

                                                                      CHELSEA ESTES, FEDERAL DEFENDERS
                                                                      Defendant's Attorney
REGISTRATION NO.               23190-051
•-
THE DEFENDANT:
IZI admitted guilt to violation of allegation(s) No.                    _________________________
                                                           ONE (1) AND TWO (2)
                                                          -----'-.....;._




D was found guilty in violation of allegation(s) No.      _____________                                after denial of guilty.

Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s}:

Allegation Number                 Nature of Violation

              1                   nvl, Committed a federal, state or local offense
              2                   nv 1, Committed a federal, state or local offense




    Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
        IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
material change in the defendant's economic circumstances.
           Case 3:20-cr-10067-AJB Document 13 Filed 04/20/20 PageID.38 Page 2 of 2
AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                ROGELIO MIRANDA-RIVAS (1)                                                Judgment-Page 2 of2
CASE NUMBER:              3 :20-CR-10067-AJB

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 TIME SERVED




 D     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 •     The defendant shall surrender to the United States Marshal for this district:
       •    at
               ---------                  A.M.                on
                                                                   ------------------
       •    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN
 I have executed this judgment as follows:

       Defendant delivered on
                                ------------- to
 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                  3:20-CR-10067-AJB
